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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

CAROLYN PERLIN, individually and                  Case No.
on behalf of all others similarly situated,
                                                  CLASS ACTION COMPLAINT
                    Plaintiff,                    AND DEMAND FOR JURY
                                                  TRIAL
      v.

TIME INC., a Delaware Corporation,

                    Defendant.


      Plaintiff Carolyn Perlin brings this Class Action Complaint and Demand for

Jury Trial (“Complaint”) against Defendant Time Inc. (“Time”) to obtain redress

for all persons injured by its intentional and unlawful disclosure of Plaintiff’s and a

proposed Class of consumers’ sensitive and statutorily protected information.

Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to

herself and her own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by her attorneys:

                             NATURE OF THE CASE

      1.     Time is an American New York-based publishing company that

publishes over 90 magazines, including People magazine.

      2.     Unfortunately for its subscribers, Time supplements its sales and

advertising revenues by secretly selling their statutorily protected information—

including their full names, titles of magazines subscribed to, and home addresses

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(collectively “Personal Reading Information”)—to data miners and other unrelated

third party companies. Time also trades its subscribers’ Personal Reading

Information with other data miners and aggregators for the purpose of “appending”

(i.e., supplementing) its customer files with other highly sensitive data about them,

such as their age, income level, purchasing habits, and other lifestyle information.

By enhancing its customers’ Personal Reading Information in this way, Time is

able to increase the “street value” of its customer lists and sell or trade them at a

higher premium.

      3.     In order to facilitate its surreptitious multi-million dollar disclosure

business, Time hides its practices from its subscribers, and neither notifies them

nor obtains their permission before disclosing their Personal Reading Information

to unrelated third parties.

      4.     Time’s disclosure practices squarely violate Michigan’s Preservation

of Personal Privacy Act, M.C.L. §§ 445.1711–15—a broad consumer protection

statute popularly referred to as the Video Rental Privacy Act (“VRPA”). The

VRPA prohibits companies like Time from disclosing—without written

permission—any information that specifically identifies a person as having

purchased written materials, such as magazines.

      5.     Accordingly, Plaintiff Perlin brings this Complaint against Time for

its intentional and unlawful disclosure of its subscribers’ Personal Reading



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Information in violation of the VRPA, as well as for its unjust enrichment from

such practices.

                                     PARTIES

      6.     Plaintiff Carolyn Perlin is a natural person and citizen of the State of

Michigan.

      7.     Defendant Time Inc. is a Delaware corporation with its principal place

of business at 1271 Avenue of the Americas, in the City of New York, State of

New York. Time does business throughout Michigan and the United States.

                         JURISDICTION AND VENUE

      8.     This Court has personal jurisdiction over Time because it is registered

to, and regularly does, conduct business in Michigan, including by soliciting

business from, and entering into transactions with, Michigan consumers. Further,

the unlawful conduct alleged in the Complaint occurred in, was directed at, and/or

emanated from this District.

      9.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332(d) because at least one Class member is a citizen of a state

different than Defendant, the amount in controversy exceeds $5,000,000, exclusive

of interest and costs, and none of the exceptions under that subsection apply to this

action.

      10.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a



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substantial part of the events and omissions giving rise to the claim occurred in this

District. Venue is additionally proper because Plaintiff Perlin resides within this

District and Defendant conducts significant business in this District, including

soliciting consumer business and entering into consumer transactions here.

                           FACTUAL BACKGROUND

I.    An Overview of the VRPA.

      11.    In 1988, after the public disclosure of then-Supreme Court nominee

Robert Bork’s (and his family’s) video viewing records, members of the United

States Senate warned that records of consumers’ purchases and rentals of

audiovisual and written materials offer “a window into [their] loves, likes, and

dislikes,” and that “the trail of information generated by every transaction that is

now recorded and stored in sophisticated record-keeping systems is a new, more

subtle and pervasive form of surveillance.” S. Rep. No. 100-599, at 7–8 (1988)

(statements of Sens. Simon and Leahy, respectively).

      12.    Congress responded by passing the federal Video Privacy Protection

Act, 18 U.S.C. § 2710 (“VPPA”)—which, as enacted, regulates a certain type of

business (a “video tape service provider”) and a narrow subset of consumer

information (that is, “information which identifies a person as having requested or

obtained specific video materials or services”). Although this statute initially also

sought to “protect[] the selection of books that [consumers] read,” 134 Cong. Rec.



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S5399 (May 10, 1988), the final version of the VPPA was limited to video

materials. See 18 U.S.C. § 2710.

      13.    The Michigan Legislature, however, decided that the federal VPPA

didn’t go far enough, and expressed concern that Michigan consumers’ “choice[s]

in reading, music, and video entertainment [were] a private matter, and not fit for

consideration by gossipy publications, employers, clubs, or anyone else.” H.B. No.

5331 (Jan. 20, 1989).

      14.    As a result, in 1989, the VRPA was enacted “to preserve personal

privacy with respect to the purchase, rental, or borrowing of certain materials[,]”

including written materials such as books and magazines. Mich. Comp. Laws Ann.

§ Ch. 445. The VRPA therefore provides, in relevant part, that:

      a person, or an employee or agent of the person, engaged in the
      business selling at retail, renting, or lending books or other written
      materials, sound recordings, or video recordings shall not disclose to
      any person, other than the customer, a record or information
      concerning the purchase lease, rental, or borrowing of those materials
      by a customer that indicates the identity of the customer.

M.C.L. § 445.1712.

      15.    As such, and in comparison to its more limited federal analogue, the

Michigan VRPA expressly regulates a broader set of businesses (those engaged in,

among other things, “the business of selling at retail . . . written materials”) and

protects a wider array of consumer information (i.e., any “record or information


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concerning the purchase, rental, or borrowing of those materials by a customer that

indicates the identity of the customer”). Compare 18 U.S.C. § 2710 with M.C.L. §

445.1712.

II.   Consumers’ Personal Information Has Real Value.

      16.    In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity

to the acts of collecting and transmitting and flowing of information, unlike

anything we’ve ever seen in our lifetimes . . . and individuals are concerned about

being defined by the existing data on themselves.”1

      17.    More than a decade later, Commissioner Swindle’s comments ring

truer than ever, as consumer data feeds an information marketplace that supports a

$26 billion dollar per year online advertising industry in the United States.2

      18.    The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace, and publicly stated that:

      Most consumers cannot begin to comprehend the types and amount of

1
       The Information Marketplace: Merging and Exchanging Consumer Data,
Federal Trade Commission, 8, 11 (Mar. 13, 2001), available at
http://www.ftc.gov/sites/default/files/documents/public_events/information-
marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last accessed
Oct. 13, 2015).
2
       See Julia Angwin & Emily Steel, Web’s Hot New Commodity: Privacy,
WSJ.com (Feb. 28, 2011),
http://online.wsj.com/article/SB10001424052748703529004576160764037920274
.html (last visited Oct. 13, 2015).


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      information collected by businesses, or why their information may be
      commercially valuable. Data is currency. The larger the data set, the
      greater potential for analysis—and profit.3

      19.    In fact, an entire industry exists where companies known as data

miners purchase, trade, and otherwise collect massive databases of information

about consumers. Data miners then profit by selling this “extraordinarily intrusive”

information in an open and largely unregulated market.4

      20.    The scope of data miners’ knowledge of consumers’ private

information is immense: “If you are an American adult, the odds are that [they]

know[] things like your age, race, sex, weight, height, marital status, education

level, politics, buying habits, household health worries, vacation dreams—and on

and on.”5

      21.    Recognizing the serious threat the data mining industry poses to

consumers’ privacy, the Co-Chairmen of the Congressional Bi-Partisan Privacy


3
       Pamela Jones Harbour, Remarks Before FTC Exploring Privacy Roundtable,
Federal Trade Commission, 2 (Dec. 7, 2009), available at
http://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
exploring-privacy-roundtable/091207privacyroundtable.pdf (last accessed Oct. 13,
2015) (emphasis added).
4
       See Martha C. White, Big Data Knows What You’re Doing Right Now,
TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
knows-what-youre-doing-right-now/ (last visited Oct. 13, 2015).
5
       Natasha Singer, You for Sale: Mapping, and Sharing, the Consumer
Genome, The New York Times (June 16, 2012),
http://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of-
consumer-database-marketing.html (last visited Oct. 13, 2015).


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Caucus sent letters to nine major data brokerage companies seeking information on

how those companies compile, store, and sell their massive collections of

consumer data.6 In their letters, the Co-Chairmen recognized that:

      [t]he business of data brokerage, namely the collecting, assembling,
      maintaining, and selling to third-parties of consumers’ personal
      information, has grown into a multiple billion dollar industry. By
      combining data from numerous offline and online sources, data
      brokers have developed hidden dossiers on almost every U.S.
      consumer. This large[-]scale aggregation of the personal information
      of hundreds of millions of American citizens raises a number of
      serious privacy concerns.7

      22.      Unfortunately, magazine publishers like Time commonly engage in

these practices by participating in “database cooperatives,” where publishers can

engage in the quid pro quo swapping of access to their respective customer lists

that, by its nature, involves the disclosure of customers’ Personal Reading

Information.

      23.      Thus, as consumer data has become an ever-more valuable

commodity, the data mining industry has experienced rapid and massive growth.

6
       See Bipartisan Group of Lawmakers Query Data Brokers About Practices
Involving Consumers’ Personal Information, Senator Ed Markey,
http://www.markey.senate.gov/news/press-releases/bipartisan-group-of-
lawmakers-query-data-brokers-about-practices-involving-consumers-personal-
information (last visited Oct. 13, 2015).
7
       See, e.g., Letter from Edward J. Markey and Joe Barton, Co-Chairmen,
Congressional Bi-Partisan Privacy Caucus, to Scott E. Howe, Chief Executive
Officer, Acxiom (Oct. 2, 2012), available at
http://markey.house.gov/sites/markey.house.gov/files/documents/Axciom%20letter
.pdf) (last accessed Oct. 13, 2015) (emphasis added).


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Unfortunately for consumers, this growth has come at the expense of their most

basic privacy rights.

III.   Time Unlawfully Discloses its Subscribers’ Personal Reading
       Information.

       24.   Time maintains a vast digital database comprised of its subscribers’

Personal Reading Information.

       25.   Without seeking permission to do so, Time discloses this information

to data mining companies who then supplement it with additional sensitive

personal information about each subscriber—such as their age, income level,

purchasing habits, and other lifestyle information.

       26.   This, in turn, allows Time to amass highly detailed customer lists—

sorted by, among other things, its subscribers’ specific reading habits (i.e., the

specific magazines they’ve purchased and subscribed to) and demographic details

(including the sensitive information Time has obtained from data miners, such, for

example, a subscriber’s age, income level, ethnicity, marital status and health

status, among other information)—which Time can then sell and otherwise

disclose at a higher premium to interested third parties.

       27.   Unfortunately, Time actively conceals these invasive data disclosure

practices from its subscribers. In fact, regardless of how consumers purchase

subscriptions to its publications, they are never presented with or asked to agree to

Time’s terms of service, privacy policy, or information-sharing policy.


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Consequently, Time uniformly fails to obtain any form of consent from—or even

provide effective notice to—its subscribers before disclosing their Personal

Reading Information to third parties.

      28.    By and through these actions, Time not only disregards its

subscribers’ privacy, it also violates the VRPA.

                 FACTS RELATING TO CAROLYN PERLIN

      29.    Plaintiff Carolyn Perlin is a citizen of the State of Michigan.

      30.    Perlin purchased a subscription to People directly from Time in or

around March 2015.

      31.    People is a magazine published, owned, and operated by Time.

      32.    Perlin has never agreed in writing or otherwise to allow Time to sell

or disclose her Personal Reading Information to any unrelated third parties.

      33.    Perlin did not receive notice of such disclosures before Time disclosed

her Personal Reading Information to unrelated third parties.

      34.    Time has disclosed, and continues to disclose, Perlin’s Personal

Reading Information (i.e., information that identifies Perlin as having purchased a

subscription to People)—without obtaining her permission or providing prior

notice—to data mining companies, who append the information with data from

their own records.

      35.    During this same time period, Time has also disclosed—and continues



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to disclose—Perlin’s Personal Reading Information to other unrelated third party

companies, including so-called “database cooperatives” without first obtaining her

consent or giving her prior notice of the disclosures.

      36.    These disclosures to unrelated third party companies squarely violate

the VRPA.

      37.    Further, and even though it lacked permission to even disclose her

Personal Reading Information in the first place, Time profited from its disclosures

of Perlin’s Personal Reading Information.

      38.    Ultimately, what Perlin received (a subscription without privacy

protections) was substantially less valuable than what she paid for (a subscription

with accompanying privacy protections). Had she known that Time would disclose

her Personal Reading Information to third parties without her permission, Perlin

would not have purchased her subscription. Thus, Perlin has suffered concrete

economic harm in the form of the monies paid to Time in exchange for the

magazine subscription.

                       CLASS ACTION ALLEGATIONS

      39.    Class Definition: Plaintiff Perlin brings this action on behalf of

herself and a proposed Class, defined as follows:

      All Michigan residents who purchased a subscription directly from
      Time Inc.

The following people are excluded from the Class: (1) any Judge or Magistrate


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presiding over this action and members of their families; (2) Defendant,

Defendant’s subsidiaries, parents, successors, predecessors, and any entity in

which the Defendant or its parents have a controlling interest and its current or

former employees, officers and directors; (3) persons who properly execute and

file a timely request for exclusion from the Class; (4) persons whose claims in this

matter have been finally adjudicated on the merits or otherwise released; (5)

Plaintiff’s counsel and Defendant’s counsel; and (6) the legal representatives,

successors, and assigns of any such excluded persons.

      40.    Numerosity: The exact number of Class members is unknown to

Plaintiff at this time, but it is clear that individual joinder of each Class member is

impracticable. Defendant has disclosed the Personal Reading Information of

thousands of consumers who fall into the definition of the Class. Ultimately,

members of the Class will be easily identified through Defendant’s records.

      41.    Commonality and Predominance: Common questions of law and

fact exist as to all members of the Class, and predominate over any questions

affecting only individual members. Those questions with respect to the Class

include, but are not limited to:

             (a)    Whether Time is “engaged in the business of selling at retail”
                    books or other written materials (i.e., magazines);

             (b)    Whether Time obtained written permission before disclosing
                    Plaintiff’s and the Class’s Personal Reading Information to
                    third parties;


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             (c)   Whether Time’s disclosure of Plaintiff’s and the Class’s
                   Personal Reading Information violated the VRPA; and

             (d)   Whether Time was unjustly enriched through its conduct
                   described herein.

      42.    Typicality: Plaintiff’s claims are typical of the claims of the other

Class members. Plaintiff and the Class sustained damages as a result of

Defendant’s uniform wrongful conduct, based upon Defendant’s disclosure of

Plaintiff’s and the Class’s Personal Reading Information.

      43.    Adequate Representation: Plaintiff will fairly and adequately

represent and protect the interests of the Class, and has retained counsel competent

and experienced in complex litigation and class actions. Plaintiff has no interests

antagonistic to those of the Class, and Defendant has no defenses unique to

Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting this

action on behalf of the Class members, and have the financial resources to do so.

Neither Plaintiff nor her counsel have any interest adverse to those of the other

Class members.

      44.    Policies Generally Applicable to the Class: This class action is

appropriate for certification because Defendant has acted or refused to act on

grounds generally applicable to the Class as a whole, thereby requiring the Court’s

imposition of uniform relief to ensure compatible standards of conduct toward the

Class members, and making final injunctive relief appropriate with respect to the


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Class as a whole. Defendant’s practices challenged herein apply to and affect the

Class members uniformly, and Plaintiff’s challenge of those practices hinges on

Defendant’s conduct with respect to the Class as a whole, not on facts or law

applicable only to Plaintiff.

      45.    Superiority: Class proceedings are superior to all other available

methods for the fair and efficient adjudication of this controversy, as joinder of all

Class members is impracticable. The damages suffered by the individual Class

members will likely be small relative to the burden and expense of individual

prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it

would be virtually impossible for the Class members to obtain effective relief from

Defendant’s misconduct on an individual basis. Even if Class members could

sustain individual litigation, it would not be preferable to a class action, because

individual litigation would increase the delay and expense to all parties due to the

complex legal and factual controversies presented in this Complaint. By contrast, a

class action presents far fewer management difficulties and provides the benefits of

single adjudication, economy of scale, and comprehensive supervision by a single

court. Economies of time, effort, and expense will be fostered and uniformity of

decisions will be ensured.

      46.    Plaintiff reserves the right to revise the definition of the Class as

necessary based upon information learned in discovery.



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                         FIRST CAUSE OF ACTION
                        Violation of M.C.L. § 445.1712
                      (On Behalf of Plaintiff and the Class)

      47.    Plaintiff incorporates the foregoing allegations as if fully set forth

herein.

      48.    As a magazine publisher that sells subscriptions directly to consumers,

Time is engaged in the business of selling written materials at retail. See M.C.L. §

445.1712.

      49.    By purchasing a subscription to People from Time, Perlin purchased

written materials at retail from Time. See M.C.L. § 445.1712.

      50.    Because Perlin purchased written materials at retail from Time, she is

a “customer” within the meaning of the VRPA. See M.C.L. § 445.1711(a).

      51.    At all times relevant, and beginning when Perlin first subscribed to

People, Time disclosed—and continues to disclose—her Personal Reading

Information, which identifies her as a People subscriber, in at least two ways.

      52.    First, Time disclosed customer lists containing Perlin’s Personal

Reading Information to data mining companies who then supplemented the lists

with additional sensitive information from their own databases.

      53.    Second, Time disclosed customer lists containing Perlin’s Personal

Reading Information to other third party companies that, in turn, sold and/or

disclosed those lists (or access to those lists) to a number of other parties—



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including other magazine publishers.

      54.     By disclosing its customer lists, Time disclosed to persons other than

Plaintiff, records or information concerning her purchase of written materials from

Time. See M.C.L. § 445.1712.

      55.     The information disclosed by Time communicates Perlin’s name and

address, as well as the fact that she subscribes to People. Accordingly, the records

or information disclosed by Time indicates Perlin’s identity. See M.C.L.

§ 445.1712.

      56.     Perlin never provided Time with consent to disclose her Personal

Reading Information to anyone—in writing or otherwise.

      57.     Worse still, Perlin did not receive any prior notice of Time’s

disclosures of her Personal Reading Information to third parties.

      58.     On information and belief, Time’s disclosures of Perlin’s Personal

Reading Information were not made pursuant to a court order, search warrant, or

grand jury subpoena.

      59.     Time’s disclosures of Perlin’s Personal Reading Information were not

made to collect payment for her subscriptions.

      60.     Time’s disclosures of Perlin’s Personal Reading information were

made to third parties, including data miners and database cooperatives, in order to

increase Time’s revenue and ability to prospectively market its own products—i.e.,



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subscriptions to its own magazine publications—to the subscribers of other

publications (among other reasons). Accordingly, Time’s disclosures were not

made for the exclusive purpose of marketing goods and services directly to Perlin.

      61.     By disclosing Perlin’s Personal Reading Information, Time violated

Perlin’s common law right to privacy.

      62.     By disclosing Perlin’s Personal Reading Information, Time violated

Perlin’s statutorily protected right to privacy in her reading habits. See M.C.L.

§ 445.1712.

      63.     Further, because Perlin paid money to Time for her People

subscription, and Time was obligated to comply with the VRPA, Time’s unlawful

disclosure of Perlin’s Personal Reading Information deprived her of the full value

of her paid-for subscription. As such, and also because Perlin ascribes monetary

value to the privacy of her Personal Reading Information, Time’s unlawful

disclosure of her Personal Reading Information caused her to receive less value

than she paid for, thereby causing her economic harm.

      64.     Likewise, because Perlin and the other Class members ascribe

monetary value to the privacy of their Personal Reading Information, a magazine

subscription that keeps their Personal Reading Information private pursuant to the

VRPA is more valuable than one that does not.

      65.     Accordingly, had Perlin known of Time’s surreptitious disclosure



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practices at or before the time of her purchase, she would not have purchased her

People magazine subscription. Thus, Time’s unlawful disclosures caused Perlin

economic harm in the form of the purchase price of the magazine subscription.

      66.    As described herein, Time generates substantial revenue by disclosing

Plaintiff’s and the Class’s Personal Reading Information to data miners and other

unrelated third parties.

      67.    As a result of Time’s unlawful and continued disclosure of their

Personal Reading Information, Plaintiff and the other Class members have suffered

privacy and economic injuries. Accordingly, on behalf of herself and the Class,

Plaintiff seeks: (1) an injunction prohibiting Time from disclosing Plaintiff’s and

the Class’s Personal Reading Information without first obtaining their written

permission (i.e., as required by the VRPA); (2) actual damages or $5,000.00,

whichever is greater, per Class member pursuant to M.C.L. § 445.1715(a); and (3)

costs and reasonable attorneys’ fees pursuant to M.C.L. § 445.1715(b).

                         SECOND CAUSE OF ACTION
                              Unjust Enrichment
                       (On Behalf of Plaintiff and the Class)

      68.    Plaintiff incorporates the foregoing allegations as if fully set forth

herein.

      69.    Perlin and the Class members conferred a benefit on Time by

providing Time with their Personal Reading Information and paying Time for their



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magazine subscriptions. Time received and retained the information and money

belonging to Perlin and the Class when Plaintiff and the Class purchased their

subscriptions to Time’s publications.

      70.    Because Time received and processed Perlin’s and the Class’s

subscription payments and Personal Reading Information, and because Time

processes and fulfills the subscriptions and discloses Perlin’s and the Class’s

Personal Reading Information to third parties, Time appreciates and/or has

knowledge of such benefits.

      71.    Under the VRPA, Perlin and the Class members were entitled to

confidentiality in their Personal Reading Information as part of their subscriptions.

      72.    Under principles of equity and good conscience, Time should not be

allowed to retain the full amount of money Perlin and the Class paid for their

subscriptions, or the money it received by disclosing Perlin’s and the Class’s

Personal Reading Information because Time failed to comply with the VRPA.

      73.    Perlin and the other Class members have suffered actual damages as a

result of Time’s unlawful conduct in the form of the monies paid for their

magazine subscriptions, which they wouldn’t have purchased had they known of

Time’s unlawful disclosure practices.

      74.    To prevent inequity, Time should return to Perlin and the Class all

monies that they paid for their magazine subscriptions, and disgorge any profits



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derived from the disclosures at issue.

      75.     Accordingly, on behalf of herself and the Class, Plaintiff seeks an

order declaring that Time’s conduct constitutes unjust enrichment, and awarding

Plaintiff and the Class restitution in an amount equal to that which they paid to

Time for their magazine subscriptions, as well as disgorgement of all profits

derived by Time as a result of its unlawful disclosures of Perlin’s and the Class’s

Personal Reading Information.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Carolyn Perlin, on behalf of herself and the Class,

prays that the Court enter judgment in her favor and against Time, and for the

following relief:

      (1)     Certify the Class as defined above, appoint Plaintiff as Class

Representative, and designate her counsel as Class Counsel;

      (2)     Declare that Time’s conduct as described herein is unlawful and

violates the VRPA;

      (3)     Declare that Time’s conduct as described herein constitutes unjust

enrichment;

      (4)     Award actual damages, including disgorgement, or $5,000.00,

whichever is greater, to each Class member, as provided by the VRPA;

      (5)     Award injunctive and equitable relief as is necessary to protect the



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interests of Plaintiff and the Class by requiring Time to cease the unlawful

disclosures discussed herein;

      (6)     Award reasonable attorneys’ fees and costs pursuant to M.C.L.

§ 445.1715(b); and

      (7)     Such other and further relief as the Court deems equitable and just.

                            DEMAND FOR TRIAL BY JURY

            Plaintiff requests trial by jury of all claims that can be so tried.

                                   Respectfully submitted,

                                   CAROLYN PERLIN, individually and on behalf
                                   of all others similarly situated,

Dated: February 19, 2016           By: /s/ Ari J. Scharg
                                   One of Plaintiff’s Attorneys

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